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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                      Case No. 18-23576-Civ-WILLIAMS/TORRES


  AM GRAND COURT LAKES LLC and
  AM 280 SIERRA DRIVE LLC,

        Plaintiffs/Counter-Defendants,

  v.

  ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
  ______________________________________/


             ORDER ON DEFENDANT’S MOTION FOR SANCTIONS

        The principle that governs the pending dispute is well established. As per Rule

  37, “the use of even severe sanctions has a salutary deterrent effect on parties to other

  law suits and their counsel and that great army of yet unknowns who will for one

  reason or another have cases and counsel.”1 In this case, given the record of multiple

  violations of this Court’s Rules and discovery orders, appropriate (but not draconian)

  sanctions are warranted to remedy manifest prejudice and to deter these parties and

  these counsel from future conduct.

        The dispute arises under Rockhill Insurance Company’s (“Defendant”) motion

  for sanctions against AM Grand Court Lakes LLC and AM 280 Sierra Drive LLC

  (“Plaintiffs”). [D.E. 67]. Plaintiffs responded on May 3, 2019 [D.E. 74] to which



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        Marshall v. Segona, 621 F.2d 763, 767 (5th Cir. 1980).
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  Defendant replied on May 9, 2019. [D.E. 77]. Therefore, Defendant’s motion is now

  ripe for disposition.   After careful consideration of the motion, response, reply,

  relevant authority, and for the reasons discussed below, Defendant’s motion is

  GRANTED in part and DENIED in part.

                                 I.     BACKGROUND

        Defendant’s motion seeks sanctions against Plaintiffs pursuant to Federal

  Rule of Civil Procedure 37 for failing to comply with the Court’s Discovery Order

  dated April 11, 2019. By that point, multiple discovery violations had already

  occurred.   Defendant served Plaintiffs with its First set of Interrogatories and

  Request for Production on January 17, 2019. Plaintiffs’ discovery responses were due

  on February 17, 2019. After several unsuccessful attempts by the Defendant to

  obtain responses to the initial discovery from Plaintiffs, a Discovery Hearing was

  scheduled for March 15, 2019, at 3:30 PM. About an hour before the scheduled

  Discovery Hearing, Plaintiffs filed a Motion for Extension of Time to Respond to

  Defendant’s Discovery Requests and to have responses deemed timely filed [D.E. 54],

  relative to the initial discovery. At the Discovery Hearing on March 15, 2019 [D.E.

  57], the Court granted Plaintiffs an extension of time and ordered Plaintiffs to furnish

  complete responses to Defendant’s January 17, 2019 First Set of Interrogatories and

  First Requests for Production on or before March 20, 2019 [D.E. 64]. After business

  hours on the extended March 20, 2019 deadline, at 10:59PM, Plaintiffs filed a Motion

  to Compel Appraisal and Motion Stay, Abate, and/or Extend Court Ordered Deadlines

  Pending Appraisal or Adjudication of the Plaintiff’s Demand for Appraisal. [D.E. 56].


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        To date, Plaintiffs have not provided any of the requested information in

  violation of the Court’s April 1, 2019 Paperless Order [ D.E. 60] and the April 11, 2019

  Discovery Order [D.E. 64] to furnish completed response to the First Set of

  Interrogatories and First Request for Production. On April 3, 2019 Defendant

  requested its Second Set of Interrogatories and Second Request for Production for

  Plaintiffs. It included the same set of five interrogatories from the first set. Defendant

  claims that Plaintiffs’ complete failure to comply with the Court’s Discovery Order

  and to serve responses is substantially inhibiting her ability to defend this matter,

  negotiate possible settlements, and may be prejudicial to Defendant’s defense of the

  Complaint and prosecution of its Counterclaim for Declaratory Relief. Defendant also

  argues that Plaintiffs’ actions make it increasingly difficult to meet the Court’s

  Scheduling deadlines, including the trial date set for August 5, 2019. Therefore,

  Defendant requests the imposition of sanctions against Plaintiffs by striking their

  pleadings or dismissing their case.

        In their response, Plaintiffs struggle to excuse their non-compliance with the

  Court’s Discovery Order [D.E. 64] by arguing that missing these deadlines was a

  naturally expected outcome of their impromptu building sale on April 11, 2019 caused

  by Hurricane Irma. [D.E. 74]. They claim that because of the sale, many of the

  documents requested were still being developed over the course of time the order was

  pending. Additionally, Plaintiffs claim that they were under the sincere belief that

  the Court would grant their pending motion to compel appraisal or that Defendant

  would submit to appraisal by agreement.


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        On the other hand, Defendant argues that there was no indication she would

  agree to limit or stay discovery in this action [D.E. 67]. In fact, Defendant accuses

  Plaintiffs of misrepresenting the parties’ electronic correspondence by excluding

  Defendant’s response, sent five minutes later, clarifying Plaintiffs’ message. [D.E. 63]

  Indeed, in Defendant’s clarifying response to the electronic message, she takes no

  position on the Motion to Compel Appraisal and further explains that a decision will

  be made at a later date. [D.E. 67].

        In any event, Plaintiffs ultimately ask the Court to consider that the transfer

  of ownership and partial assignment of the claim might naturally require a

  reasonable stay or abatement of this action of at least thirty (30) days. In addition,

  Plaintiffs ask that the current trial period and associated discovery deadlines be

  extended accordingly.

                                        II. ANALYSIS

        Federal Rule of Civil Procedure 37(b)(2) grants the court broad authority in

  sanctioning a party for failure to comply with a court order to provide discovery,

  including dismissing an action with prejudice. Fed. R. Civ. P. 37(b)(2)(A). District

  courts have broad discretion to fashion appropriate sanctions for violations of

  discovery orders. See Malautea v. Suzuki Motor Co., Ltd., 987 F.2d 1536, 1542 (11th

  Cir. 1993); Marshall, 621 F.2d at 765 (“The bandwidth of the District Court’s power

  to impose Rule 37 sanctions is broad indeed.”).

        A district court is not required to first impose lesser sanctions if the lesser

  sanctions would be ineffective. Malautea, 987 F.2d at 1544. Although the sanction of


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  dismissal is extreme, the district court has “discretion to dismiss a complaint where

  the party’s conduct amounts to flagrant disregard and willful disobedience of the

  court’s discovery orders.” Hashemi v. Campaigner Publ'ns, Inc., 737 F.2d 1538, 1538

  (11th Cir. 1984). Additionally, a party may demonstrate bad faith by “delaying or

  disrupting the litigation or hampering enforcement of a court order.” Barnes v.

  Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998). The non-disclosing party must establish

  the failure to disclose was substantially justified or harmless. Mitchell v. Ford Motor

  Co., 318 F. App’x 821, 824 (11th Cir. 2009).

        Based on a review of the record presented, we agree with the Defendant that

  Plaintiffs’ conduct is unacceptable and that the discovery requests should have been

  provided long ago. The first discovery violation arose when Plaintiffs ignored the

  First Set of Interrogatories and the First Request for Production requested by the

  Defendant on January 17, 2019. That conduct violated Rules 33, 34 and 37.

        Then, Plaintiffs failed to comply with the Court’s extension of time and order

  to comply with the discovery request at the Discovery Hearing on March 15, 2019.

  Furthermore, Plaintiffs persisted to ignore the Court by refusing to comply with

  either the April 1, 2019 Paperless Order or the April 11, 2019 Discovery Order. Not

  even after the Second Set of Interrogatories, with the same five (5) questions, and

  Second Request for Production did the Plaintiffs respond.

        Even as late as today, more than five months after the discovery requests and

  three (3) months past the Discovery Deadline of April 5, 2019, Plaintiffs continue to

  violate the Court’s Rules and disregard the Court’s Orders. And they have also


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  materially failed to meet their burden of establishing substantial justification. The

  building sale on April 11, 2019 is an insufficient excuse for the repeated disregard of

  the Court’s discovery orders. Although some documentation may be difficult to

  produce for discovery, the sale occurred six (6) days after the Court’s Discovery

  Deadline of April 5, 2019 and Plaintiffs failed to show any indication of a good faith

  effort to comply with any of the Court’s Orders. Therefore, Defendant’s motion for

  sanctions is merited because Plaintiffs have repeatedly failed to meet their discovery

  obligations.

        Defendant requests that this Court impose sanctions by either striking

  Plaintiffs’ pleadings or dismissing the case. This type of sanction should only be used

  as a last resort. Yet arbuably that sanction may be warranted as Plaintiffs have

  demonstrated a “perfect storm of discovery abuse.” SEC v. Michael Lauer, No. 03-

  80612-Civ-MARRA/VITUNAC, 2006 U.S. Dist. LEXIS 65383, at *25 (S.D. Fla. Jan.

  24, 2006) (holding that at trial the defendant will not be permitted to introduce any

  evidence not already disclosed to plaintiff because defendant ignored the court’s order

  to compel production, provided incomplete interrogatory responses, disregarded the

  court’s asset freeze, and missed a deposition). Failing to respond to two sets of

  interrogatories, ignoring two requests for production, disregarding three of the

  Court’s Discovery Orders, receiving warning of possible sanctions for non-compliance

  at the Discovery Hearing, and making misrepresentations to the Court all combined

  warrant dismissal of Plaintiffs’ case.




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        But taking heed of the Eleventh Circuit’s guiding precedents, the Court finds

  that lesser, though significant, sanctions are possible in this case. To remedy the

  primary prejudice caused by these discovery violations, Plaintiffs will not be

  permitted to present at trial or at summary judgment any testimonial or

  documentary evidence that has not already been disclosed and produced to the

  Defendant. See Fed. R. Civ. P. 37(b)(2)(A)(ii); Buchanan v. Bowman, 820 F.2d 359,

  361 (11th Cir. 1987) (holding that striking of the answer and entry of default

  judgement against defendant was warranted when defendant missed two court

  ordered depositions and failed to respond to both interrogatories and requests for

  production); United States v. Sumitomo Marine & Fire Ins. Co., 617 F.2d 1365, 1370

  (9th Cir. 1980) (holding that the sanction precluding the plaintiff from introducing

  evidence was within the district court’s discretion because the plaintiff failed to

  comply with a court-ordered discovery order and request for production, was more

  than a month late of the extended deadline for interrogatory answers, and was

  warned of possible sanctions after several deadline extensions); Local Access, LLC v.

  Peerless Network, Inc., 2017 WL 951651, at *2 (M.D. Fla. Mar. 10, 2017) (“While

  exclusion of evidence is one of the more severe types of sanctions, it may be warranted

  in cases where a party’s failure to comply with [Rule 26] deprives the opposing party

  of any opportunity to test the evidence prior to trial.”).

        Accordingly, to introduce any such testimony or documentary evidence on

  summary judgment or at trial, Plaintiffs must affirmatively show that such evidence

  was produced to Defendant by the date of the filing of the motion for sanctions, to wit


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  April 19, 2019. The failure to meet that showing shall preclude Plaintiffs from relying

  on such evidence in opposition to a dispositive motion or at trial.

         To this extent, Defendant’s motion for sanctions is GRANTED.             As for

  Defendant’s request that Plaintiffs’ pleadings be stricken or case be dismissed,

  Defendant’s motion is DENIED.

                                  III.   CONCLUSION

         For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that

  Defendant’s motion for sanctions is GRANTED in part and DENIED in part. [D.E.

  67].

         DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of

  June, 2019.



                                                 /s/ Edwin G. Torres
                                                 EDWIN G. TORRES
                                                 United States Magistrate Judge




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